Case 1:01-cv-12257-PBS Document 6530-8 Filed 09/22/09 Page 1 of 6




              EXHIBIT 7
Case 1:01-cv-12257-PBS Document 6530-8 Filed 09/22/09 Page 2 of 6
Case 1:01-cv-12257-PBS Document 6530-8 Filed 09/22/09 Page 3 of 6
Case 1:01-cv-12257-PBS Document 6530-8 Filed 09/22/09 Page 4 of 6
Case 1:01-cv-12257-PBS Document 6530-8 Filed 09/22/09 Page 5 of 6
Case 1:01-cv-12257-PBS Document 6530-8 Filed 09/22/09 Page 6 of 6
